         Case 1:11-cv-11116-RWZ Document 10 Filed 01/12/12 Page 1 of 2



UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

                                                               )
KRISTI COLEMAN                                                 )
     Plaintiff,                                                )
                                                               )
vs.                                                            )     Civil Action No.
                                                               )
                                                               )          1:11-cv-11116
CONTINENTAL SERVICE GROUP, INC.                                )
AKA CONSERVE                                                   )
     Defendants,                                               )
                                                               )


                                STIPULATION OF DISMISSAL

        Pursuant to Fed.R.Civ.P. 41(a)(1)(A)(ii), the Plaintiff Kristi Coleman and Continental Service
Group, Inc. AKA ConServe hereby stipulate to a voluntary dismissal of this action between them
with prejudice and each of them to bear their own costs and attorney fees.


RESPECTFULLY SUBMITTED:


KRISTI COLEMAN                                         CONTINENTAL SERVICE GROUP, INC.
                                                       AKA CONSERVE
By her attorneys,
                                                       By its attorney,

/s/ Kevin V. K. Crick, Esq.                            /s/ John J. O’Connor
Kevin J. Buckley                                       John J. O’Connor
BBO#674594                                             BBO # 555251
Kevin Crick                                            Peabody & Arnold, LLP
BBO # 680950                                           Federal Reserve Plaza,
Consumer Rights Law Firm                               600 Atlantic Avenue
2 Dundee Park, Suite 201                               Boston, MA 02210
Andover, Massachusetts, 01810                          Tel. (617) 951-2077
Phone: (978) 212-3300                                  Fax. (617) 951-2125
Fax: (888) 712-4458                                    joconnor@peabodyarnold.com
Email: kevinc@consumerlawfirmcenter.com


Dated: January 12, 2012




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          Case 1:11-cv-11116-RWZ Document 10 Filed 01/12/12 Page 2 of 2



                                       PROOF OF SERVICE

        We hereby certify that on January 12, 2012, a true copy of the foregoing was filed
electronically in accordance with the Court’s Electronic Filing Guidelines. Notice of this filing will
be sent to all parties by operation of the court’s electronic filing system and electronic email. Parties
may access this filing through the court’s system.

                                                        /s/ Kevin V. K. Crick, Esq.

                                                        /s/ Kevin J. Buckley, Jr. Esq.

                                                        /s/ John J. O’Connor, Esq.




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